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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
ROD DANIELSON, Chapter 13 Trustee
3787 University Avenue
Riverside, CA 92501
(951) 826-8000 FAX (951) 826-8090




      Debtor(s) appearing without an attorney
      Attorney for:

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION DIVISION

 In re:                                                                      CASE NO.: 6:24-bk-12943-WJ
                                                                             CHAPTER:

JENNIFER DAWN FUENTES,
                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               CHAPTER 13 TRUSTEE
1. Movant(s) ____________________________________________________________________________________,
                                                   CHAPTER 13 TRUSTEE’S MOTION TO DISMISS CHAPTER 13
   filed a motion or application (Motion) entitled _________________________________________________________
   CASE FOR FAILURE TO MAKE PLAN PAYMENTS
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date: 08/22/2024                                                      /s/Rod Danielson                                                   .
                                                                      Signature of Movant or attorney for Movant

                                                                      Rod Danielson, Chapter 13 Trustee                                  .
                                                                      Printed name of Movant or attorney for Movant




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 2               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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  1   ROD DANIELSON, Chapter 13 Trustee
      Bridget Kelly, 256197
  2   3787 University Avenue
      Riverside, CA 92501
  3   (951) 826-8000 FAX (951) 826-8090
  4

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  6

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  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                 CENTRAL DISTRICT OF CALIFORNIA
 10
                                            RIVERSIDE DIVISION
 11
                                                    )   Case No.: 6:24-bk-12943-WJ
 12                                                 )
      IN RE:                                        )   Chapter 13
 13                                                 )
                                                    )   CHAPTER 13 TRUSTEE’S MOTION TO
 14   JENNIFER DAWN FUENTES,                        )   DISMISS CHAPTER 13 CASE FOR
                                                    )   FAILURE TO MAKE PLAN PAYMENTS
 15                                                 )
                             Debtor.                )
 16                                                 )   (No hearing required)
                                                    )
 17

 18            Dismissal is requested pursuant to 11 U.S.C. § 1307(c)(1) and LBR 3015-1(k)(4) for
 19
      unreasonable delay for failure to timely make all plan payments due. Since the filing of this
 20
      petition, the following plan payments have come due and have been paid by the debtor:
 21

 22      AMOUNT DUE                    DUE       AMOUNT PAID              PAYMENT
                                       DATE                               DATE
 23                $270                6/28/24           $280                6/27/24

 24               $1,624               7/28/24
 25
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  1   See Exhibit A. The plan payments have not been timely made, and any cure of the $1,614
  2   delinquency will not be able to remedy the late payments. If the debtor is unable to timely
  3
      make her plan payments after having just filed her petition a few months ago, it appears the
  4
      plan is infeasible and she should discuss non-bankruptcy options with her attorney.
  5
              For all the foregoing reasons, the Chapter 13 Trustee requests the case be dismissed.
  6

  7
      Dated: August 22, 2024                      /s/Rod Danielson__________________________
                                                  ROD DANIELSON, Chapter 13 Standing Trustee
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  1                               DECLARATION OF BRIDGET KELLY
  2           I, BRIDGET KELLY, declare as follows:
  3           1.      I am an attorney licensed by the State of California to practice law. I am a Staff
  4
      Attorney for Rod Danielson, Chapter 13 Standing Trustee for the Riverside Division of the
  5
      United States Bankruptcy Court for the Central District of California. I am admitted to practice
  6
      before the District Court for the Central District of California.
  7
              2.      I have personally reviewed the files, records, and documents in this case and I am
  8
      familiar with the facts contained in those documents. If called as a witness, I could and would be
  9
      able to testify as to the facts contained therein.
 10

 11
              3.      As of today’s date, the debtor has paid only the first plan payment due. A true

 12   and correct copy of the Status Report and TFS website transaction printout are attached hereto as

 13   Exhibit A.

 14           I declare under penalty of perjury that the foregoing is true and correct and that this

 15   declaration was executed by me at Riverside, California.
 16

 17
      DATED: August 22, 2024
 18                                                          ____________________
                                                      Bridget Kelly
 19

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                                                       -3-                                                 3
          Case 6:24-bk-12943-WJ Rod
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                                                Chapter          Entered
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                                3787 University Avenue, Riverside, CA 92501
                                                           Tel. (951) 826-8000

                                  STATUS REPORT - CASE #6:24-bk-12943-WJ AS OF 8/22/2024


                                                                                                                         TOTAL RECEIPTS PER
                                                                                                  LAST 12 RECEIPTS      MONTH - LAST 12 MONTHS

                                                                                                  06/27/24   $280.00    08/2024        $0.00
                                                                                                                        07/2024        $0.00
                                                                                                                        06/2024      $280.00
                                                                                                                        05/2024        $0.00
                                                                                                                        04/2024        $0.00
        JENNIFER DAWN FUENTES
                                                                                                                        03/2024        $0.00
        27176 RAINBOW CREEK                                                                                             02/2024        $0.00
        TEMECULA, CA 92591                                                                                              01/2024        $0.00
                                                                                                                        12/2023        $0.00
                                                                                                                        11/2023        $0.00
                                                                                                                        10/2023        $0.00
                                                                                                                        09/2023        $0.00

 CURRENT CASE DISPOSITION: ACTIVE

 FILING DATE:              05/28/2024         MONTHLY PLAN PMT AMT:                  $1,624.00   FEES PAID TO ATTY:                     $0.00
 1ST MEETING DATE:         06/26/2024         GROSS RECEIPTS:                          $280.00   FEES PAID TO TRUSTEE:                 $28.00
 CONFIRMATION DATE:        01/01/1900         REFUNDS FR CREDITORS:                      $0.00   REFUNDS TO DEBTOR:                     $0.00
 TERM OF PLAN:             60 MONTHS          NET PAID CREDITORS:                        $0.00   BALANCE ON HAND:                     $252.00
 PERCENT TO UNSEC.:        0.00%
                                                                       SCHEDULED         CLAIMED       PRINCIPAL       INTEREST     PRINCIPAL
CLM#   CREDITOR NAME                    CREDITOR CLASS         INT%       AMOUNT          AMOUNT           PAID             PAID    BAL OWED
ATTY   BROTHERS LAW GROUP, LLP          ATTORNEY FEE            N/A      $2,500.00       $2,500.00         $0.00           $0.00     $2,500.00
0001   2ND CHANCE MORTGAGES INC         MORTGAGE ARREARS        0.00     $3,382.00           $0.00         $0.00           $0.00         $0.00
0002   NORTHROP GRUMMAN                 VEHICLE ARREARS         0.00     $1,890.00           $0.00         $0.00           $0.00         $0.00
0003   PENNYMAC LOAN SERVICES, LLC      MORTGAGE ARREARS        0.00     $3,703.00           $0.00         $0.00           $0.00         $0.00
0004   TOYOTA FINANCIAL SERVICES        VEHICLE ARREARS         0.00     $1,050.00           $0.00         $0.00           $0.00         $0.00
0005   AFFIRM, INC.                     UNSECURED               0.00     $1,756.00           $0.00         $0.00           $0.00         $0.00
0006   AFFIRM, INC.                     UNSECURED               0.00       $634.00           $0.00         $0.00           $0.00         $0.00
0007   AFFIRM, INC.                     UNSECURED               0.00       $502.00           $0.00         $0.00           $0.00         $0.00
0008   AFFIRM, INC.                     UNSECURED               0.00       $366.00           $0.00         $0.00           $0.00         $0.00
0009   AFFIRM, INC.                     UNSECURED               0.00       $246.00           $0.00         $0.00           $0.00         $0.00
0010   AFFIRM, INC.                     UNSECURED               0.00       $231.00           $0.00         $0.00           $0.00         $0.00
0011   AFFIRM, INC.                     UNSECURED               0.00       $219.00           $0.00         $0.00           $0.00         $0.00
0012   AFFIRM, INC.                     UNSECURED               0.00       $202.00           $0.00         $0.00           $0.00         $0.00
0013   AFFIRM, INC.                     UNSECURED               0.00       $198.00           $0.00         $0.00           $0.00         $0.00
0014   AFFIRM, INC.                     UNSECURED               0.00       $195.00           $0.00         $0.00           $0.00         $0.00
0015   AFFIRM, INC.                     UNSECURED               0.00       $180.00           $0.00         $0.00           $0.00         $0.00
0016   AFFIRM, INC.                     UNSECURED               0.00       $143.00           $0.00         $0.00           $0.00         $0.00
0017   AFFIRM, INC.                     UNSECURED               0.00       $114.00           $0.00         $0.00           $0.00         $0.00
0018   AFFIRM, INC.                     UNSECURED               0.00        $68.00           $0.00         $0.00           $0.00         $0.00
0019   AFFIRM, INC.                     UNSECURED               0.00        $56.00           $0.00         $0.00           $0.00         $0.00
0020   AFFIRM, INC.                     UNSECURED               0.00        $29.00           $0.00         $0.00           $0.00         $0.00
0021   ASPIRE CREDIT CARD               UNSECURED               0.00     $1,553.00           $0.00         $0.00           $0.00         $0.00
0022   AVANT/WEBBANK                    UNSECURED               0.00     $1,221.00           $0.00         $0.00           $0.00         $0.00
0023   CAPITAL ONE                      UNSECURED               0.00     $5,697.00           $0.00         $0.00           $0.00         $0.00
0024   CAPITAL ONE                      UNSECURED               0.00     $2,394.00           $0.00         $0.00           $0.00         $0.00
0025   CFNA                             UNSECURED               0.00     $2,429.00           $0.00         $0.00           $0.00         $0.00
0026   COASTL/PROSP                     UNSECURED               0.00        $68.00           $0.00         $0.00           $0.00         $0.00
0027   COMENITY BANK/KAY JEWELERS       UNSECURED               0.00     $1,220.00           $0.00         $0.00           $0.00         $0.00
0028   COMENITY BK/ULTA                 UNSECURED               0.00       $587.00           $0.00         $0.00           $0.00         $0.00
0029   COMENITY CAPITAL/FAMOUS          UNSECURED               0.00       $233.00           $0.00         $0.00           $0.00         $0.00
0030   COMENITY/BURLINGTON              UNSECURED               0.00       $517.00           $0.00         $0.00           $0.00         $0.00
0031   COMENITYBANK/VENUS               UNSECURED               0.00        $41.00           $0.00         $0.00           $0.00         $0.00
0032   CONTINENTAL FINANCE CO           UNSECURED               0.00     $1,025.00           $0.00         $0.00           $0.00         $0.00
0033   COUNTY OF RIVERSIDE              UNSECURED               0.00     $1,755.00           $0.00         $0.00           $0.00         $0.00
0034   CREDIT ONE BANK                  UNSECURED               0.00       $908.00           $0.00         $0.00           $0.00         $0.00
0035   DMV                              UNSECURED               0.00       $525.00           $0.00         $0.00           $0.00         $0.00
0036   ENVISION PHYSICIAN SERVICE       UNSECURED               0.00     $1,476.00           $0.00         $0.00           $0.00         $0.00
0037   FIRST SAVINGS BANK               UNSECURED               0.00       $643.00           $0.00         $0.00           $0.00         $0.00
0038   FORTIVA                          UNSECURED               0.00     $1,088.00           $0.00         $0.00           $0.00         $0.00
0039   GENESIS FS CARD SERVICES         UNSECURED               0.00       $866.00           $0.00         $0.00           $0.00         $0.00
0040   HOME CREDIT USA                  UNSECURED               0.00       $570.00           $0.00         $0.00           $0.00         $0.00
0041   KOHL'S                           UNSECURED               0.00     $3,007.00           $0.00         $0.00           $0.00         $0.00
0042   MERRICK BANK CORP                UNSECURED               0.00     $2,259.00           $0.00         $0.00           $0.00         $0.00
0043   NAVIENT                          UNSECURED               0.00    $60,871.00           $0.00         $0.00           $0.00         $0.00

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                                                Chapter          Entered
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                                3787 University Avenue, Riverside, CA 92501
                                                         Tel. (951) 826-8000

                                STATUS REPORT - CASE #6:24-bk-12943-WJ AS OF 8/22/2024

                                                            CONTINUED
                                                                       SCHEDULED       CLAIMED      PRINCIPAL     INTEREST     PRINCIPAL
CLM#   CREDITOR NAME               CREDITOR CLASS             INT%        AMOUNT       AMOUNT           PAID           PAID    BAL OWED
0044   NAVIENT                     UNSECURED                   0.00     $18,301.00        $0.00         $0.00         $0.00         $0.00
0045   NAVIENT                     UNSECURED                   0.00     $17,265.00        $0.00         $0.00         $0.00         $0.00
0046   NAVIENT                     UNSECURED                   0.00     $15,451.00        $0.00         $0.00         $0.00         $0.00
0047   NAVIENT                     UNSECURED                   0.00     $15,296.00        $0.00         $0.00         $0.00         $0.00
0048   NAVIENT                     UNSECURED                   0.00     $15,040.00        $0.00         $0.00         $0.00         $0.00
0049   NAVIENT                     UNSECURED                   0.00     $12,883.00        $0.00         $0.00         $0.00         $0.00
0050   NAVIENT                     UNSECURED                   0.00      $8,217.00        $0.00         $0.00         $0.00         $0.00
0051   NAVIENT                     UNSECURED                   0.00      $4,015.00        $0.00         $0.00         $0.00         $0.00
0052   NAVIENT                     UNSECURED                   0.00      $3,929.00        $0.00         $0.00         $0.00         $0.00
0053   NAVIENT                     UNSECURED                   0.00      $3,912.00        $0.00         $0.00         $0.00         $0.00
0054   NAVIENT                     UNSECURED                   0.00      $3,325.00        $0.00         $0.00         $0.00         $0.00
0055   NAVIENT                     UNSECURED                   0.00      $1,014.00        $0.00         $0.00         $0.00         $0.00
0056   NAVIENT                     UNSECURED                   0.00        $959.00        $0.00         $0.00         $0.00         $0.00
0057   NAVIENT                     UNSECURED                   0.00        $727.00        $0.00         $0.00         $0.00         $0.00
0058   NORTHROP GRUMMAN            UNSECURED                   0.00      $5,068.00        $0.00         $0.00         $0.00         $0.00
0059   NORTHROP GRUMMAN            UNSECURED                   0.00      $9,668.00        $0.00         $0.00         $0.00         $0.00
0060   NORTHROP GRUMMAN FCU        UNSECURED                   0.00      $5,086.00        $0.00         $0.00         $0.00         $0.00
0061   NORTHROP GRUMMAN            UNSECURED                   0.00      $5,031.00        $0.00         $0.00         $0.00         $0.00
0062                               UNSECURED
       NORTHROP GRUMMAN FEDERAL CREDIT UNION                   0.00      $5,429.00        $0.00         $0.00         $0.00         $0.00
0063   NORTHROP GRUMMAN FEDERAL CREDIT UNION
                                   UNSECURED                   0.00      $4,424.00        $0.00         $0.00         $0.00         $0.00
0064   SUNBIT, INC                 UNSECURED                   0.00        $363.00        $0.00         $0.00         $0.00         $0.00
0065   SUNBIT FINANCIAL            UNSECURED                   0.00        $351.00        $0.00         $0.00         $0.00         $0.00
0066   SUNBIT FINANCIAL            UNSECURED                   0.00      $1,050.00        $0.00         $0.00         $0.00         $0.00
0067   SYNCB/CCDSTR                UNSECURED                   0.00        $670.00        $0.00         $0.00         $0.00         $0.00
0068   SYNCHRONY BANK/CARE CREDIT  UNSECURED                   0.00      $1,614.00        $0.00         $0.00         $0.00         $0.00
0069   SYNCHRONY BANK/GAP          UNSECURED                   0.00        $904.00        $0.00         $0.00         $0.00         $0.00
0070   SYNCHRONY BANK/HHGREGG      UNSECURED                   0.00      $1,016.00        $0.00         $0.00         $0.00         $0.00
0071   SYNCHRONY/HSN               UNSECURED                   0.00      $1,653.00        $0.00         $0.00         $0.00         $0.00
0072   TARGET NB                   UNSECURED                   0.00        $320.00        $0.00         $0.00         $0.00         $0.00
0073   VIVE FINANCIAL              UNSECURED                   0.00      $5,010.00        $0.00         $0.00         $0.00         $0.00
                                                                                TOTAL PRINCIPAL BALANCE OWED*:                 $2,500.00
 * THE "TOTAL PRINCIPAL BALANCE OWED" IS NOT THE AMOUNT NECESSARY TO PAY YOUR PLAN IN FULL. IT DOES NOT TAKE INTO ACCOUNT ANY BALANCE ON
 HAND, NOR DOES IT INCLUDE TRUSTEE'S FEES (ESTIMATED AT 11%), ACCRUING INTEREST, ANY CLAIMS THAT THE TRUSTEE IS NOT AWARE OF, OR "BASE
 PLAN" REQUIREMENTS. TO OBTAIN AN ESTIMATED PAYOFF BALANCE, PLEASE SUBMIT A WRITTEN REQUEST TO THE TRUSTEE.




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                                          Dashboard                  Welcome, Rod Danielson (TR)               Language 




       All Transactions for Jennifer Fuentes

 Name                    Address
 Jennifer Fuentes        27176 Rainbow Creek, Temecula, CA, 92591



Date Started    Date Cleared       Arrived at Trustee   Case Number     Transaction ID   Amount    Status     Description

June 20, 2024   June 26, 2024      June 27, 2024        24-12943        16265205         $280.00   Complete   Manual Debtor Payment




                                                         EXHIBIT A
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    3787 University Avenue
    Riverside, CA 92501
                                                     (1) NOTICE OF OPPORTUNITY TO REQUEST A
HEARING ON MOTION, (2) CHAPTER 13 TRUSTEE'S MOTION FOR ORDER DISMISSING CHAPTER 13 CASE
FOR FAILURE TO MAKE PLAN PAYMENTS




8/22/2024

Rod Danielson (TR) notice-efile@rodan13.com
Jonathan D Doan Ecf@doanlawfirm.com, jim@doanlawgroup.com;doanjr70033@notify.bestcase.com
Henry D Paloci hpaloci@hotmail.com, hpaloci@calibankruptcy.com
Amitkumar Sharma amit.sharma@aisinfo.com
Nathan F Smith nathan@mclaw.org, CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com;cvalenzuela@mclaw.org
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov




            8/22/2024




JENNIFER FUENTES, 27176 RAINBOW CREEK, TEMECULA, CA 92591




                                                                                                   8/22/24




Honorable Wayne Johnson
3420 Twelfth Street
Riverside, CA 92501




8/22/2024      Susan Jones                                                     /s/Susan Jones
